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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

__________________________________________
Marion Olivieri


                                   Plaintiff(s),
                                                                 MEDIATION
                                                               CERTIFICATION

                                                                  18 - cv - ______
                                                                ______      1026
                              v.

D'Youville College


                                Defendant(s).

__________________________________________



   I hereby certify that:

   The mediation session scheduled for___________ has been adjourned to ___________.

   Case settled prior to the first mediation session.

   Mediation session was held on ______________.
                                     10/15/20

    ✔ Case has settled. (Comment if necessary).
       &DVHKDVVHWWOHGLQSDUW &RPPHQWEHORZ 0HGLDWLRQZLOOFRQWLQXHRQBBBBBBBB

       &DVHKDVVHWWOHGLQSDUW &RPPHQWEHORZ 0HGLDWLRQLVFRPSOHWH

       Case has not settled. Mediation will continue on ________________________.

       Case has not settled. Mediation is complete. The case will proceed toward trial
       pursuant to the Court's scheduling order.


Date: ______________
      03/16/2021                               Mediator: /S/ __________________________
                                                             Krista Gottlieb

Additional Comments:
The matter settled after numerous in person and Zoom sessions, in various permutations
________________________________________________________________________
and lots of phone calls and phone conferences
________________________________________________________________________
________________________________________________________________________
